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6                              THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
7                                         AT SEATTLE
8

9
     NANNETTE BASA, an individual,
                                                            No. 2:21-cv-00754
10
                             Plaintiff,

11
            v.
                                                            AMENDED COMPLAINT AND
     BRAND SHARED SERVICES, LLC, a                          JURY DEMAND
12
     Delaware corporation,
13
                            Defendant.
14

15

16          COMES NOW the Plaintiff, NANNETTE BASA, by and through her attorneys, and

17   alleges as follows:

18                                             I. PARTIES

19          1.      Plaintiff resides in Snohomish County, Washington.

20          2.      Defendant Brand Shared Services, LLC is a Delaware corporation doing business

21   in Washington. Defendant does business as “BrandSafway”.

22                                  II. VENUE AND JURISDICTION

23          3.      All acts and omissions occurred in Snohomish County, Washington. Therefore,

24   the Western District of Washington at Seattle is the proper venue, pursuant to LCR 3(e)(1).

25          4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

26   1331, in that this complaint contains civil actions arising under federal law (Section 1981 Civil
                                                                    Law Offices of Alex J. Higgins
      AMENDED COMPLAINT - 1                                           Denny Building, Suite 500
                                                                         2200 Sixth Avenue
      (No. 2:21-cv-00754)                                                Seattle, WA 98121
                                                                          (206) 340-4856
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1    Rights claim). This Court also has supplemental subject matter jurisdiction over the related state

2    law claims pursuant to 28 U.S.C. § 1367.

3                                   II. FACTUAL ALLEGATIONS

4           These factual allegations are not intended to be exhaustive in nature and are written solely

5    to provide notice to the Defendants of the general nature of Plaintiff’s claims.

6           5.      Defendant employed Ms. Basa as a recruiter. Before 2018, Defendant classified

7    Ms. Basa as an independent contractor. In 2018, Defendant hired Ms. Basa as a full-time

8    employee. She worked remotely from her home in Snohomish County, Washington.
9           6.      Ms. Basa reported to two different managers as an employee of Defendant: Rod

10   Broschinsky and then (starting in October 2019) Karen Riapos. Ms. Riapos was the Director of

11   Talent Acquisition. Neither manager indicated anything negative about Ms. Basa’s performance.

12          7.      In approximately February 2020, Defendant hired two other recruiters in February

13   2020: Ryan Wilson and Nicole Norris. Both were approximately 35 years old and both were

14   white. Defendant paid both of these younger white employees substantially more than Ms. Basa.

15   Ms. Basa was a 49 year old Filipina.

16          8.      In December 2020, Defendant terminated Ms. Basa in a layoff, claiming that it

17   needed to lay off some staff for financial reasons. However, soon after discharging Ms. Basa,

18   BrandSafway hired additional recruiters, including another younger white male.

19          9.      Ms. Basa’s age was a substantial factor in the decision to terminate her

20   employment. Ms. Basa’ race was another substantial factor in that decision. Alternatively, Ms.

21   Basa’s age and her race combined to serve as a substantial factor in that decision.

22                        III. AGE DISCRIMINATION UNDER THE
                        WASHINGTON LAW AGAINST DISCRIMINATION
23
            10.     Plaintiff re-alleges and incorporates by reference the above paragraphs.
24
            11.     Plaintiff’s age was a substantial factor in Defendant’s decision to pay Plaintiff
25
     less than younger workers and to terminate her employment, in violation of RCW 49.60.180.
26
                                                                    Law Offices of Alex J. Higgins
      AMENDED COMPLAINT - 2                                           Denny Building, Suite 500
                                                                         2200 Sixth Avenue
      (No. 2:21-cv-00754)                                                Seattle, WA 98121
                                                                          (206) 340-4856
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1           12.     As a result of Defendant’s unlawful conduct, Plaintiff has been damaged both

2    emotionally and financially. Such damages include, but are not limited to, lost past and future

3    wages and benefits, consequential damages, and damages as a result of emotional distress, in an

4    amount to be proved at trial.

5                          IV.  RACE DISCRIMINATION UNDER THE
                          WASHINGTON LAW AGAINST DISCRIMINATION
6
            13.     Plaintiff re-alleges and incorporates by reference the above paragraphs.
7
            14.     Plaintiff’s race was a substantial factor in Defendant’s decision to pay Plaintiff
8
     less than younger workers and to terminate her employment, in violation of RCW 49.60.180.
9
            15.     As a result of Defendant’s unlawful conduct, Plaintiff has been damaged both
10
     emotionally and financially. Such damages include, but are not limited to, lost past and future
11
     wages and benefits, consequential damages, and damages as a result of emotional distress, in an
12
     amount to be proved at trial.
13
            16.     Alternatively, Plaintiff’s age and her race were together a substantial factor in the
14
     termination decision by Defendant.
15
                     V.     RACE DISCRIMINATION UNDER 42 U.S.C. § 1981
16
            17.     Plaintiff re-alleges and incorporates by reference the above paragraphs.
17
            18.     Plaintiff’s race was a factor in Defendant’s decision to terminate her employment,
18
     in violation of 42 U.S.C. § 1981.
19
            19.     As a result of Defendant’s unlawful conduct, Plaintiff has been damaged both
20
     emotionally and financially. Such damages include, but are not limited to, lost past and future
21
     wages and benefits, consequential damages, and damages as a result of emotional distress, in an
22
     amount to be proved at trial.
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                                                                    Law Offices of Alex J. Higgins
      AMENDED COMPLAINT - 3                                           Denny Building, Suite 500
                                                                         2200 Sixth Avenue
      (No. 2:21-cv-00754)                                                Seattle, WA 98121
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1                                      VI. RELIEF REQUESTED

2           A.       Plaintiff requests this court to find in favor of Plaintiff and against the Defendant

3    on Plaintiff’s causes of action and claims, in amounts to be proven at trial, with interest accruing

4    thereon.

5           B.       Plaintiff seeks general and special damages in amounts to be proven at trial,

6    including damages for emotional distress, back pay, and front pay.

7           C.       Plaintiff seeks punitive damages for her claim arising under 42 U.S.C. § 1981.

8           D.       Plaintiff seeks reasonable attorney's fees and costs, including expert witness fees,
9    whether statutory or equitable, to be assessed herein, as provided by RCW 49.60.030.

10          E.       Injunctive relief as may be appropriate to make Plaintiff whole.

11          F.       Plaintiff seeks such further and additional equitable and legal relief as the court

12   deems just and equitable.

13                                        VII.     JURY DEMAND

14          Pursuant to Fed. R. Civ. P. 38, Plaintiff demands a trial by jury on all issues so triable.

15

16   DATED: this 12th day of July, 2021:

17                                                  LAW OFFICES OF ALEX J. HIGGINS
18
                                                    s/Alex J. Higgins
19                                                  Alex J. Higgins, WSBA No. 20868

20

21                                                  BEAN LAW GROUP
22                                                  s/Cody Fenton-Robertson
                                                    Cody Fenton-Robertson, WSBA No. 47879
23                                                  2200 6th Ave, Suite 500
                                                    Seattle, WA 98121
24
                                                    (206) 522-0618
25

26
                                                                      Law Offices of Alex J. Higgins
      AMENDED COMPLAINT - 4                                             Denny Building, Suite 500
                                                                           2200 Sixth Avenue
      (No. 2:21-cv-00754)                                                  Seattle, WA 98121
                                                                            (206) 340-4856
